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> Exhibit 3b: UCC Filing by Mark S. Gallagher, April 3(), 2008 [43-46]

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> EXhibit 321: UCC Filing by Mark S. Gallagher, April 30, 2008 [4346]

       

         

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> Exhibit 30

 

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